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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                             )
                                                     )
                v.                                   )
                                                     )      Criminal No. 22-10325-FDS
CHRISTOPHER NAGLE,                                   )
                                                     )
                      Defendant.                     )


                     GOVERNMENT’S SENTENCING MEMORANDUM

       Christopher Nagle (“C. Nagle”) possessed massive amounts of controlled substances at his

residence. An ostensible partner of his older brother Lawrence Michael Nagle, C. Nagle acquired

tens of thousands of cash, designer sunglasses, jewelry, and a Mercedes-Benz as a result of his

criminal conduct. See ECF No. 93 (indictment) at 9-12.

       C. Nagle’s advisory guideline range is 151 to 168 months. To deter others, to punish C.

Nagle for his conduct, to promote respect for the law, and in recognition of other sentences

available, the Court should sentence C. Nagle to 151 months and to five years of term of supervised

release.

       I.       BACKGROUND

       During 2021 and 2022, the DEA investigated the distribution of multiple controlled

substances by members of a drug trafficking organization operating in the North Shore of

Massachusetts. As part of that investigation, DEA investigators received authorization to intercept

communications over cell phones being used by various individuals who were members of that

drug trafficking organization. PSR ¶ 11. Through those interceptions, investigators developed

evidence establishing that the organization was distributing significant quantities of various
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controlled substances, including counterfeit oxycodone pills containing fentanyl (also referred to

herein as “fentanyl pills”). PSR ¶ 12.

       The evidence in this case established that C. Nagle’s brother, Lawrence Michael Nagle,

was the leader of a large drug trafficking organization that distributed controlled substances in the

North Shore region of Massachusetts. PSR ¶ 14.

       On January 7, 2022, investigators searched C. Nagle’s residence at 2 Broadway, Apartment

307, in Lynnfield, Massachusetts and seized over 75,000 methamphetamine pills weighing more

than 25 kilograms, 622 fentanyl pills weighing approximately 83 grams, approximately 486

pharmaceutical-grade oxycodone 80 mg. pills, and approximately 12 pharmaceutical-grade

oxycodone 30 mg. pills. PSR ¶ 17.

       On October 25, 2022, investigators searched C. Nagle’s residence at 320 Revere Beach

Boulevard, Apartment 517, in Revere, Massachusetts, and seized over 100 pharmaceutical-grade

oxycodone 30 mg. pills, over six grams of fentanyl powder, and quantities of pills containing

clonazepam, alprazolam, or etizolam. PSR ¶ 18. During the search of his apartment, investigators

also seized $3,389 in U.S. Currency and $42,171.00 in U.S. Currency, which were the proceeds

earlier sales of drugs by C. Nagle or others in the conspiracy. Investigators also seized assorted

jewelry and sunglasses, which were purchased using the proceeds from C. Nagle’s sale of drugs.

Id.

       II.     GUIDELINE ANALYSIS

       Based on the quantity of converted drug weight attributable to C. Nagle, C. Nagle’s base

offense level is 36. PSR ¶ 30. His total offense level is 33. PSR ¶ 39.        His criminal history

category is II and his guideline sentencing range is 151-168 months.




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       III.      PERSONAL CHARACTERISTICS OF THE DEFENDANT

       C. Nagle was raised under challenging circumstances. Both of his parents were addicted

to opiates. PSR ¶ 69. Their addiction contributed to the poor socioeconomic circumstances under

which C. Nagle’s was raised, in that their opiate addiction ostensibly left the family with

insufficient funds for better living conditions. Id. C. Nagle, understandably, looked poorly on his

parents being unable to remain sober despite attending a methadone clinic. Id. C. Nagle’s own

substance use has been limited to alcohol and marijuana. PSR ¶ 86.

       C. Nagle was employed for approximately one year of the eight years preceding his arrest.

PSR ¶¶ 91-95.

           IV.   SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

       A.        Nature of the Offense

                 1.    The Dangers of Fentanyl

       Almost 700 fentanyl pills are attributable to C. Nagle. Fentanyl is a synthetic opioid up to

50 times stronger than heroin. Fentanyl is a major contributor to fatal and nonfatal overdoses in

the United States. .1 Fentanyl is a major contributor to fatal and nonfatal overdoses in the United

States.2




       1
          National Center for Injury Prevention and Control, Division of Drug Overdose
Prevention, Centers for Disease Control and Prevention, Fentanyl Facts (September 6, 2023),
available at https://www.cdc.gov/stopoverdose/fentanyl/index.html/ (last visited on Sept. 20,
2023).
       2
         Id.
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       Synthetic opioids like fentanyl are the primary driver behind the ongoing opioid crisis.3

Over the last five years, fentanyl-related overdose deaths have grown at a disturbing pace. In

2021, the CDC reported that there were an estimated 100,306 drug overdose deaths in the United

States during the 12-month period ending in April 2021.4 Of those estimated overdose deaths,

more than 75% (75,673) were the result of opioids.5 At the end of 2022, reports showed that deaths

involving fentanyl—most likely involving illicit fentanyl—rose to 94% of opioid-related overdose

deaths in Massachusetts.6 Opioid overdoses are now the leading cause of death for Americans

aged 18 to 45.7

       Drug traffickers have recently developed a new (and deadly) way of distributing fentanyl

– namely, as a pill manufactured in such a manner as to mimic in appearance legitimate

pharmaceutical-grade pills. This method of distribution can be lethal for drug users who consume




       3
          Drug Enforcement Administration, U.S. Department of Justice, Facts about Fentanyl
(April 2021), available at https://www.dea.gov/resources/facts-about-fentanyl (last visited on Sept.
20, 2023).
4
  National Center for Health Statistics, Centers for Disease Control and Prevention, Drug
Overdose Deaths in the U.S. Top 100,000 Annually, (Nov. 17, 2021), available at
https://www.cdc.gov/nchs/pressroom/nchs_press_releases/2021/20211117.htm (last visited on
Sept. 20, 2023).
        5
          Id.
        6
          Pat Anson, Fentanyl Linked to 94% of Overdose Deaths in Massachusetts, Pain News
Network (Dec. 16, 2022), available at https://www.painnewsnetwork.org/stories/ 2022/12/16/
fentanyl-linked-to-94-of-overdose-deaths-in-massachusetts (last visited on Sept. 20, 2023).
        7
          Tamara Kerrill Field, The fentanyl epidemic is more than a crisis. It’s a massacre, Boston
Globe (Feb. 24, 2023), available at https://www.bostonglobe.com/2023/02/24/ metro/fentanyl-
epidemic-is-more-than-crisis-its-massacre/ (last visited on Sept. 20, 2023).
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the counterfeit pills not knowing that the pills contain undisclosed fentanyl.8 This method of

fentanyl distribution has quickly grown into a lethal concern.9

        In 2022, the DEA seized more than 50.6 million fentanyl-laced, fake prescription pills,

more than twice the number of fentanyl-laced, fake prescription pills the agency confiscated in

2021.10 As the DEA explained, these fake pills are intentionally designed to look identical to real

prescription drugs, but contain fentanyl.11 The DEA warned that fake prescription pills containing

fentanyl are becoming increasingly deadly – laboratory testing in 2022 revealed that six out of ten

fentanyl-laced prescription pills contained a potentially lethal dose of fentanyl (in contrast to

testing conducted a year earlier that indicated that four out of ten pills contained a potentially lethal

dosage).12 This increased concentration of fentanyl in counterfeit drugs is of particular concern

given that individuals who misuse psychoactive prescription pills often obtain them from




        8
            See Deidre McPhillips, “Counterfeit pills involved in growing share of overdose deaths
in the US, CDC study finds, CNN (Aug. 31, 2023), available at https://www.cnn.com/
2023/08/31/health/counterfeit-pills-overdose-deaths-report/index.html (last visited on Sept. 20,
2023).
         9
           See generally DEA, “Sharp Increase in Fake Prescription Pills Containing Fentanyl and
Meth,” Public Safety Alert (Sept. 27, 2021), available at https://www.dea.gov/alert/sharp-
increase-fake-prescription-pills-containing-fentanyl-and-meth (last visited on Sept. 20, 2023).
         10
            Drug Enforcement Administration, “Drug Enforcement Administration Announces the
Seizure of Over 379 million Deadly Doses of Fentanyl in 2022,” (Dec. 20, 2022), available at
https://www.dea.gov/press-releases/2022/12/20/drug-enforcement-administration-announces-
seizure-over-379-million-deadly (last visited on Sept. 20, 2023).
         11
            Id.
12
   Id.; see also Johnny Diaz, U.S. Drug Agency Doubles Its Catch of Fentanyl-Laced Pills in 2022,
The New York Times (December 20, 2022), https://www.nytimes.com/2022/12/20/us/fentanyl-
drug-dea-seizure.html (last visited on Sept. 20, 2023).


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nonmedical sources, thus increasing the likelihood of users unintentionally ingesting fentanyl

through counterfeit pills.13

       The increasing prevalence of counterfeit pills containing fentanyl has only heightened the

risk of drug overdoses, which was already at crisis stage in Massachusetts. The opioid-related

death rate in Massachusetts far outpaces the remainder of the country and can be correlated to the

noticeable spike in fentanyl usage in Massachusetts.14 In 2021, there were an estimated 33.1

opioid-related overdose deaths per 100,000 residents in Massachusetts, compared to an estimated

5.9 per 100,000 in 2000. 15 That same year (2021), the opioid-related death rate per capita in

Massachusetts was nearly 50% higher than the national average.16

       These statistics are not hypothetical: they describe the situation occurring right now in this

district. Each of these datapoints represents someone’s mother, father, child, brother, sister, or




       13
           Joseph J. Palamar, Daniel Ciccarone, Caroline Rutherford, Katherine M. Keyes, Thomas
H. Carr, and Linda B. Carter, Trends in Seizures of Powders and Pill Containing Illicit Fentanyl
in the United States, 2018 through 2021, Drug and Alcohol Dependence on Science Direct (May
1, 2022), available at https://doi.org/10.1016/j.drugalcdep.2022.109398 (last visited on Sept. 20,
2023).
        14
           Anise Vance and Luc Schuster, Opioid Addiction is a National Crisis. And It’s Twice as
Bad in Massachusetts, Boston Indicators, at 2, 4, available at https://www.bostonindicators.org/-
/media/indicators/boston-indicators-reports/report-files/opioids-2018.pdf, (last visited on Sept. 20,
2023).
       15
           Massachusetts Department of Public Health, Data Brief: Opioid-Related Overdose
Deaths among Massachusetts Residents (December 2022), available at https://www.mass.gov/
doc/opioid-related-overdose-deaths-among-ma-residents-december-2022/download (last visited
on Sept. 20, 2023).
        16
           Peter Ciurczak, Opioid-Related Deaths in Massachusetts Remain Elevated Four Years
after Peak, Boston Indicators (Sept. 17, 2021), available at https://www.bostonindicators.org/
article-pages/2021/september/opioid-deaths-2021 (last visited Sept. 21, 2023).
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friend. The epidemic is real and being felt every day by families across Massachusetts and New

England.17

               2.     The Dangers of Methamphetamine

       Although historically there have not been a large number of methamphetamine

prosecutions in this District, that is no longer the case. While once considered a plague primarily

impacting the western United States, New England and the Commonwealth are now feeling the

impacts of methamphetamine addiction.18 Media reports confirm that methamphetamine usage in




       17
          In addition to the human cost, there are also massive financial costs associated with
opioid abuse. In 2017, the CDC estimated that the cost of opioid-use disorder in Massachusetts,
excluding costs from fatal drug overdoses, was approximately $14,821.7 million, amounting to
approximately $2,161 per capita. Feijun Luo, Mengyao Li, Curtis Florence, State-Level Economic
Costs of Opioid Use Disorder and Fatal Opioid Overdose — United States, 2017, Morbidity and
Mortality       Weekly        Report       (April       16,       2021),         available     at
https://www.cdc.gov/mmwr/volumes/70/wr/mm7015a1.htm (last visited Sept. 21, 2023). This
includes the cost of health care (approximately $985.3 million), substance use treatment
(approximately $111.2 million), criminal justice efforts (approximately $466.4 million), lost
productivity (approximately $985.4 million), and reduced quality of life (approximately $12,273.5
million). Id. Also contributing to these costs is naloxone, one treatment used to counteract the
immediate effects of opioid overdose, which the Massachusetts Department of Public Health has
increased its investment in by more than 140 percent in recent years. See Massachusetts
Department of Public Health, Massachusetts opioid-related overdose deaths rose 2.5 percent in
2022 (June 22, 2023), available at https://www.mass.gov/news/massachusetts-opioid-related-
overdose-deaths-rose-25-percent-in-2022 (last visited Sept. 21, 2023).

       18
          Drew Karedes, Methamphetamine posing new emerging threat in New England opioid
crisis, Boston 25 News (Oct. 3, 2019), available at
https://www.boston25news.com/news/methamphetamine-use-in-area-presenting-new-
challenges-for-new-england/992994155/ (last visited on Sept. 25, 2023).
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Massachusetts has been increasing notably,19 and the methamphetamine overdose death rate in

Massachusetts has increased concomitantly by 129 percent between 2015 and 2019.20

       The driving force behind this increase in usage and overdose deaths is the shift in

manufacture of methamphetamine that has resulted in both increased availability and potency.

Over the past 20 years, methamphetamine manufacture has shifted from individuals producing

small amounts of methamphetamine in local settings to sophisticated Mexican laboratories, which

in turn has led to a dramatic increase in drug purity and an equally significant decrease in cost.21

In 2019, the DEA seized 55 percent more methamphetamine nationwide (53,079 kilograms)

compared to in 2018 (34,270 kilograms).22 Of the methamphetamine seized in 2019, both purity

and potency had risen to nearly 100 percent.23 To localize the issue, methamphetamine seizures




       19
           See id.; Felice J. Freyer, “Meth has taken hold in Massachusetts,” Boston Globe (Aug.
13, 2019), appearing at https://www.bostonglobe.com/metro/2019/08/13/really-last-thing-need-
right-now/pj9C3U4JcI9wTgKlxpJOKI/story.html.
        20
           Tracy Velazquez and Lizzie Remrey, Methamphetamine Use, Overdose Deaths, and
Arrests Soared from 2015 to 2019 (Aug. 16, 2022), available at
https://www.pewtrusts.org/en/research-and-analysis/articles/2022/08/16/methamphetamine-use-
overdose-deaths-and-arrests-soared-from-2015-to-2019 (last visited Sept. 25, 2023).
        21
           Felice J. Freyer, Meth has taken hold in Massachusetts (Aug. 13, 2019), available at
https://www.bostonglobe.com/metro/2019/08/13/really-last-thing-need-right-
now/pj9C3U4JcI9wTgKlxpJOKI/story.html (last visited on Sept. 25, 2023); U.S. Drug
Enforcement Administration, 2020 National Drug Threat Assessment (March 2021), available at
https://www.dea.gov/sites/default/files/2021-02/DIR-008-
21%202020%20National%20Drug%20Threat%20Assessment_WEB.pdf (last visited on Sept.
25, 2023).
        22
           U. S. Drug Enforcement Administration, 2020 National Drug Threat Assessment
(March 2021), available at https://www.dea.gov/sites/default/files/2021-02/DIR-008-
21%202020%20National%20Drug%20Threat%20Assessment_WEB.pdf (last visited on Sept.
25, 2023).
        23
           Id.
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increased between 1,700 and 2,900 percent in the decade between 2000 and 2019 in Massachusetts

alone.24

       Even when not lethal, the physical and emotional effects of methamphetamine abuse are

dramatic. Methamphetamine is a tremendously addictive drug, which can cause dramatic physical

and emotional changes on those who use it, including increases in aggressive and violent

behavior.25 The emotional changes are equally devastating:

       [P]eople who use methamphetamine long term may exhibit symptoms that can
       include significant anxiety, confusion, insomnia, mood disturbances, and violent
       behavior. They also may display a number of psychotic features, including
       paranoia, visual and auditory hallucinations, and delusions (for example, the
       sensation of insects creeping under the skin). Psychotic symptoms can sometimes
       last for months or years after a person has quit using methamphetamine, and stress
       has been shown to precipitate spontaneous recurrence of methamphetamine
       psychosis in people who use methamphetamine and have previously experienced
       psychosis.26

Here, C. Nagle possessed over 25 kilograms (over 75,000 pills) of methamphetamine, 50 times the

amount necessary to trigger a ten-year minimum mandatory sentence.            See 21 U.S.C. §

841(b)(1)(A)(viii). This conduct is serious.




       24
           Matt Murphy, Massachusetts not ready for rise in cocaine, meth use (May 5, 2021),
available at https://www.masslive.com/news/2021/05/massachusetts-not-ready-for-rise-in-
cocaine-meth-use.html (last visited on Sept. 25, 2023).
        25
           Mark A. R. Kleiman, Jonathan P. Caulkins, and Angela Hawken, Drugs and Drug
Policy: What Everyone Needs to Know 120 (Oxford University Press 2011) (“There is . . . a
much stronger association between violence and regular methamphetamine use. Heavy use of
methamphetamine increases the likelihood of attack behaviors and aggression, with the most
compelling evidence coming from laboratory studies involving mice.”).
        26
           National Institute on Drug Abuse, What are the long-term effects of methamphetamine
abuse? (Jan. 12, 2022), available at https://nida.nih.gov/publications/research-
reports/methamphetamine/what-are-long-term-effects-methamphetamine-misuse (last visited on
Nov. 9, 2023).
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       B.      History and Characteristics of the Defendant and Just Punishment

       Although C. Nagle’s personal circumstances are truly unfortunate, they ultimately are an

aggravating factor rather than a mitigating one. C. Nagle watched drugs ravage his parents. His

father was in and out of jail as a result of his drug addiction, and his mother ostensibly died from

it. Yet, his reaction to this was to push dangerous and addictive drugs like oxycodone, fentanyl,

and methamphetamine on others for his own profit. That is what this was about for him – money.

He put his own livelihood ahead of the actual lives of others. And it was indeed profitable for him

as the proposed forfeitures from him indicate.

       In short, C. Nagle knew from his own upbringing what drugs could do to a family. He

willfully brought that on others. His own willful blindness to the suffering of others merits

appropriate punishment.

       C.      General and Specific Deterrence

       Given the increasing societal harms associated with fentanyl generally and the specific

threats associated with counterfeit pills that are laced with undisclosed fentanyl, there can be little

question that a significant term of incarceration is necessary to deter the defendant and others from

engaging in the distribution of fentanyl pills, methamphetamine pills, and other drugs.




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                                       CONCLUSION

       For the foregoing reasons, the Court should sentence C. Nagle to 151 months

imprisonment, followed by five years of supervised release.

                                                   Respectfully submitted,

                                                   JOSHUA S. LEVY
                                                   Acting United States Attorney

                                            By:    /s/ Evan D. Panich
                                                   EVAN D. PANICH
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                                                   Boston, MA 02210




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                                 CERTIFICATE OF SERVICE

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                                              /s/ Evan D. Panich
                                              EVAN D. PANICH
                                              Assistant United States Attorney

Date: August 6, 2024




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